Case: 6:13-cr-00047-GFVT-HAI Doc #: 886 Filed: 11/05/20 Page: 1 of 4 - Page ID#:
                                    3005



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

    UNITED STATES OF AMERICA,                      )
                                                   )
          Plaintiff,                               )     Crim. No. 6:13-cr-00047-GFVT-HAI-15
                                                   )
    V.                                             )
                                                   )
    TERRY HAMRICK,                                 )                      ORDER
                                                   )
          Defendant.                               )
                                                   )

                                        *** *** *** ***


         This matter is before the Court on the alleged violations by Defendant Terry Hamrick of

his supervised release conditions. Following the final hearing before Magistrate Judge Hanly A.

Ingram, Judge Ingram issued a Recommended Disposition concerning Mr. Hamrick’s alleged

violations. [R. 884.] After consulting with counsel, Mr. Hamrick freely and voluntarily waived

his right to an allocution hearing. [R. 885.] For the reasons that follow, the Recommended

Disposition [R. 884] will be adopted.

         Judgment was originally entered against Mr. Hamrick in February 2015, after he pleaded

guilty to participating in a conspiracy to manufacture methamphetamine. 1 [R. 626; R. 724.] At

that time, Mr. Hamrick was sentenced to eighty-four months of imprisonment, followed by a

four-year term of supervised release. [R. 626 at 2–3.] Mr. Hamrick was released on March 7,

2019.



1
 Judge Ingram’s Recommended Disposition accurately sets forth a more detailed account of the factual
and procedural background of the case. [See R. 884.] In addition to what the Court summarizes in its
discussion below, the Court incorporates Judge Ingram’s discussion of the record into this Order.
Case: 6:13-cr-00047-GFVT-HAI Doc #: 886 Filed: 11/05/20 Page: 2 of 4 - Page ID#:
                                    3006



        On September 8, 2020, the United States Probation Office issued a Supervised Release

Violation Report (“Report”) which initiated these proceedings. Mr. Hamrick made his initial

appearance on September 9, 2020 and was remanded to custody at that time. [R. 880.] The

Report issued by the USPO charged Mr. Hamrick with two violations, each stemming from his

submission of a urine sample which tested positive for buprenorphine and methamphetamine.

[See R. 884 at 2.] Specifically, Violation #1 alleges that Mr. Hamrick violated the condition of

his supervised release which, among other things, requires him to not purchase, possess or use

any controlled substance, except as prescribed by a physician. Id. Such conduct would

constitute a Grade C violation. Id. Violation #2 alleges that Mr. Hamrick violated the condition

of his supervised release which requires him to not commit another federal, state, or local crime.

Id. Based on Mr. Hamrick’s prior drug conviction, use is the same as possession. Id. Therefore,

his alleged use of methamphetamine is conduct in violation of 21 U.S.C. § 844(a), Possession of

a Controlled Substance, a Class E Felony. Id. This conduct would constitute a Grade B

violation. Id.

       At the final hearing before Judge Ingram on October 8, 2020, Mr. Hamrick competently

entered a knowing, voluntary, and intelligent stipulation to both violations as charged in the

Report. [R. 881.] The parties did not offer a jointly recommended sentence. [R. 884 at 4.] The

United States argued for a revocation sentence of eighteen months of imprisonment, along with

two years of supervised release. Id. Defense counsel argued for time served, followed by six

months of home incarceration. Id.

       On October 9, 2020, Judge Ingram issued a Recommended Disposition recommending

that, upon Mr. Herrick’s stipulation, he be found guilty of both violations. Id. at 8. Further,

Judge Ingram recommended revocation of his supervised release and a term of twelve months
Case: 6:13-cr-00047-GFVT-HAI Doc #: 886 Filed: 11/05/20 Page: 3 of 4 - Page ID#:
                                    3007



and one day of imprisonment, followed by a three-year term of supervised release, under the

same conditions of supervision previously imposed. 2 Id.; [See R. 626.] On October 23, 2020,

Mr. Hamrick freely and voluntarily waived his right to an allocution hearing. [R. 885.]

        There are no objections to Judge Ingram’s Recommended Disposition. When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

        1. The Recommended Disposition [R. 884] as to Defendant Terry Hamrick is

ADOPTED as and for the Opinion of the Court;

        2. Defendant Hamrick is found to have violated the terms of his Supervised Release as set

forth in the Supervised Release Violation Report filed by the U.S. Probation Office and the

Recommended Disposition of the Magistrate Judge; and

        3. Hamrick’s Supervised Release is REVOKED; and

        4. Hamrick is SENTENCED to the Custody of the Bureau of Prisons for a term of

twelve (12) months and one (1) day, with a three-year term (3) of supervised release, under the

conditions imposed in [R. 626], to follow.




2
 As Judge Ingram notes in his Recommended Disposition, Defendant still owes restitution on the
underlying judgment, and continuing payment is a condition of his supervised release. [See R. 884 at 8.]
Case: 6:13-cr-00047-GFVT-HAI Doc #: 886 Filed: 11/05/20 Page: 4 of 4 - Page ID#:
                                    3008



     This is the 4th day of November, 2020.
